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The                         Source
                              August 1991

                                                                has over twelve years of experience
                                                                servingthenutritionalfoodand
                                                                pharmaceuticalindustries.
                                                                 Pharmline, now in its fifth year, has
                                                                 established a track record of
                                                                 providing product, delivery and
                                                                 technical support to its customers.
                                                                Our extensive contacts with
                                                                manufacturers and suppliers in
                                                                Europe, Asia and South America
                                                                allow us to introduce cutting edge
                                                                products to the industry.
                                                                      Pharmline is a member of the
                                                                Herb Research Foundation, the
                                                                Institute of Food Technologists, the
                                                                American Association of Candy
                                                                Technologists, the NNFA, the
                                                                Council for Responsible Nutrition
                                                                and the American Herb Products
                                                                Association.
                                                                       Quality Control is a key
                                                                concern at.our processing facility
                                                                where pharmaceutical     Good
                                                                Manufacturing Practices (GMP's)
                                                                are followed for custom blending,
                                                                grinding, granulating and vacuum
                                                                drying services. Our laboratory has
                                                                equipment for mixing, drying and
                                                                sizing as well as instruments for
                                                         -/

                                                                assay and validation of raw materi-
                                                                als. We have complete in-house
                                                                microbiological capacity, including
                                                                spectrophotometers     and apparati
                      PHARMLINE...                              for HPLC, A/A, UV vis., melting
                                                                point, pH, and fiber products
                      A little Bit About Us                     validation.  All Pharmline opera-
                                                                tions revolve around our GMP
                           Pharmline's goal is to be THE        Program in which raw materials
                      SOURCE for ethical nutritional    prod-   are quarantined, sampled, tested,
                      ucts and quality raw materials.  The      and released under the strictest
                      Company President, John Witterschein,     conditions. A sample of every

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               PHARMLINE                  -
                                              Product          Line
                                                  Amino Acids/Derivatives




                                                  N Acetyl-L-Cysteine
                                                                            Amino Acid Chelates




                                                  Glandular    Products




                Botanicals
                                                                            Oils




                Botanical Extracts




                Vitamins



                                                                            Spice Powders
                                                  Aspartates




                                     PHARMLINE,   INC.
                     41 Bridge Street • Florida, New York 10921
             (914)651-4443   •
                               FAX (914)651.6900 • Telex 710 110 1708

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                       PROFESSIONAL PRICE LIST                                                                     4
                                   Acidophilus Formulas
PRODUCT NAME               DESCRIPTION                                     SIZE                PRICE        CODE
                                                                      90 Capsules          $


                                         Enzyme Formulas
PRODUCT NAME               DESCRIPTION                                     SIZE                PRICE        CODE
                                                                     100 Capsules          $
                                                                      80 Capsules         ($            )
                                                                      80 Tablete           $


                   Omega-3 & 6 Fatty Acids and Other Oils
PRODUCT NAME               DESCRIPTION                                     SIZE                PRICE        CODE
                                                                      90 Cap1ule1          $
                                                                      8.5 Fluld Ounces     $
                                                                     100 Capsules          $


                                   Amino Acid Formulas
PRODUCT NAME               DESCRIPTION                                     SIZE                PRICE        CODE
                                                                      60 Capsules         $
                                                                      60 Capsules         $
                                                                      60 Capsules         $
                                                                      60 Capsules         $
N.A.C.                     600 mg N-Acetyl-L-Cystelne                 80   Capsules       s      8.00       213011
                                                                      60   Capsules       s
                                                                      60   Capsules       $
                                                                       6   Fluld Ounces   $
                                                                      60   Capsules       $
                                                                     100   Capsules       $
                                                                      60   Capsules       $
                                                                      80   Capsules       $
                                                                     180   Capsules       $                            1


                           Botanical Specialty Formulas
PRODUCT NAME               DESCRIPTION                                     SIZE                PRICE        CODE
                                                                     180 Capsules         $
                                                                     120 Capsules         $
                                                                      50 Capsules         $
                                                                     100 Tablets          s
                                                                      60 Capsules         s
                                                                      60 CapsulH          $
                                                                      90 Tablets          $
                                                                      60 Capsules         $
                                                                      60 Capsules         $
                                                                      90 Tablets          $
                                                                     240 Tablets          $
                                                                     120 Capsules         $
                                                                      80 Tablets          $
                                                                      60 Capsules         $
                                                                      30 Lozenges         $
                                                                      80 Tablets          $
                                                                      30 Capsules         $



                                         l'.iTF' NF FORMULAS, INC.
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                            Island Organics, Inc.
              100 South Washington                 Avenue,    Dunellen,      NJ 08812 (908)968-6664           Fax (908)968-6866



May      2,         1994



Mr.   Michael      McGuffin
McZand     Herbal    Inc.
P.O.   Box    5312
Santa    Monica,     CA 90409

Dear          Mr.         McGuffin:

Enclosed              please            find          catalog offering
                                              our                       a variety                      of HERBS,
HERBAL              EXTRACTS,             ORGANIC     MINERALS and NUTRITIONAL                       SUPPLEMENTS.

Our many years                         of   service        providing        products    through    brokers
and distributors                          has    earned       ISLAND      ORGANICS an excellent
reputation       for                   prompt      reliable         service      and quality    products.

Now,      not          only       have       we expanded            our   inventory,        but      sell  directly
to      the         industry         at      large  at       the     same    incredibly           low prices.

I will    give                 you      a   call   next      week      and   answer       any     questions      you
may have.

Very      t          ly         urs,



Pat    Ransom
Account      Executive

/pr
encl.




                                       Branch Office: (201) 796-1807            Fax (201) 796-8894
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        Island Organics, Inc.
  100 South Washington Avenue, Dunellen, NJ 08812 (908) 968-6664 Fax (908) 968-6866



Vitamins and Nutritional Supplements




      N-Acetyl Cysteine




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